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                 UNITED STATES DISTRICT COURT
                 EASTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION

DEBORAH HOLMES, et al.,

                 Plaintiffs,                Case Number: 20-11390

                                                 TRIAL NOTICE
      vs.

POLARIS INC.,
                                                HONORABLE
                 Defendant.                 GEORGE CARAM STEEH


            EVENT                           DEADLINE
Motions in Limine due                   Tuesday, May 24, 2022

Final Pretrial Order due                Tuesday, May 24, 2022

Final pretrial conference        Tuesday, May 31, 2022 at 10:00 a.m.

Trial date                        Tuesday, June 14, 2022 at 9:00 a.m.

Estimated length of trial                        7 days

                               JURY TRIAL


The following practices shall govern the conduct of this case:
 I.   FINAL PRETRIAL CONFERENCE.


      At this conference, usually scheduled two weeks prior to trial,

      the Court will discuss trial procedures and final pretrial matters
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      including the trial schedule, parties’ proposed voir dire

      questions and jury instructions, as well as any issues related

      to witnesses and exhibits. Motions in limine may also be heard

      at the conference in order to avoid delay in the selection of the

      jury on the first day of trial. Unless the Court instructs otherwise,

      the parties must submit their witness lists one week prior to the

      final pretrial conference. In addition, the parties must also

      jointly prepare and submit their proposed voir dire questions,

      jury instructions, and verdict form. These jointly prepared

      documents must be submitted directly to chambers using the

      Proposed Orders function in CM/ECF and should NOT be filed on

      the docket.

 II. FINAL PRETRIAL ORDER. The proposed Joint Final Pretrial

       Order must be submitted through the proposed orders function

       of CM/ECF on or before the date set by this order, which shall be

       no later than one week before the date of Final Pretrial

       Conference. All witnesses must be listed in the Final Pretrial

       Order. Witnesses may only be added to the Final Pretrial Order

       by stipulation of the parties and leave of court.     Counsel shall
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       follow the procedure outlined in the court’s practice guidelines to

       prepare for the final pretrial conference and the Final Pretrial

       Order. The parties shall prepare the Joint Final Pretrial Order

       in conformance with all of the requirements of Local Rule 16.2.


II.   REQUIRED PRIOR TO TRIAL. At least ONE WEEK prior to

      the beginning of trial, counsel shall furnish to the court the

      following:


           1.      In jury cases, any requests for VOIR DIRE, proposed

                   JOINT JURY INSTRUCTIONS and the VERDICT

                   FORM.    The parties shall file with the court a single

                   set of proposed, stipulated jury instructions and a

                   single, proposed verdict form. The instructions are to

                   be typewritten and double spaced and shall contain

                   references to authority (e.g., “Devitt and Blackmar,

                   Section 11.08").     Additionally, each party shall

                   separately file any additional proposed instructions to

                   which any other party objects. The parties must make

                   a concerted, good faith effort to narrow the areas of
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                 dispute and to discuss each instruction with a view to

                 reaching an agreement as to an acceptable form.


           2.    In a non-jury case, proposed FINDINGS OF FACT and

                 CONCLUSIONS OF LAW.


           3.    A statement of claims or defenses, no longer than two

                 pages, suitable to be read to the jury during opening

                 instructions.


 III. EXHIBITS. Counsel are required to mark all proposed exhibits

     in advance of trial.    Plaintiff’s exhibits shall use numbers and

     Defendant’s exhibits shall use letters. A consecutive number and

     lettering system should be used by each party. The parties are

     required to exchange marked exhibits three days prior to the start

     of trial. Counsel are also required to maintain a record of all

     admitted exhibits during trial. Counsel for each party must keep

     custody of that party’s admitted exhibits during trial. A party

     who objects to this provision must file a written objection prior to

     jury selection.
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IV.   JUDGE’S COPIES. An electronic copy of the proposed Final

Pretrial Order, and proposed joint Jury Instructions, and verdict form,

must be submitted through the proposed orders function of CM/ECF.

                                        BY THE COURT:

Dated: April 14, 2022                   s/George Caram Steeh
                                        GEORGE CARAM STEEH
                                        United States District Judge
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               HONORABLE GEORGE CARAM STEEH
                UNITED STATES DISTRICT JUDGE

                   CASE MANAGER: Brianna Sauve
                       PHONE: (313) 234-5177

PRETRIAL         Final Pretrial Order is generally due one (1) week
                 before final pretrial conference. Witnesses may only be
                 added to the final pretrial order by stipulation of the
                 parties and leave of court. Final pretrial conference
                 usually held two weeks prior to trial. Parties and/or
                 persons with settlement authority must be present.

TRIAL            Attorneys are responsible to ascertain the status of the
                 trial date. Marked exhibits are to be exchanged three
                 (3) days prior to trial.

                 Benchbook of exhibits is required. If trial briefs are
                 required by the court, they must be filed one (1) week
                 prior to trial. File motions in limine no later than two
                 (2) weeks prior to the final pretrial conference. Trial is
                 usually held 9:00 a.m. to 3:00 p.m. daily.

NON-JURY         Submit proposed findings of fact/conclusions of law, one
                 (1) week prior to trial.

JURY             Voir dire by court. Submit proposed voir dire one (1)
                 week prior to trial. Proposed joint jury instructions
                 and verdict form due one (1) week prior to trial.
                 Electronic submission through the proposed orders
                 function of CM/ECF required.
